                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA

I.E.C., on her own behalf and                               Civil File No. 12-2997(MJD/LIB)
by through her Parent and Natural
Guardian, J.R.,

                 Plaintiffs,                                OBJECTIONS TO MAGISTRATE'S
                                                           REPORT AND RECOMMENDATION
-vs-

Minneapolis Public Schools, SSD No. 1,
Minnesota Department of Education,
Brenda Cassellius,

                 Defendants.

                    PLAINTIFFS’ OBJECTIONS TO REPORT AND RECOMMENDATION

        NOW COME the Plaintiffs, Isabella Cavanaugh (“Bella”) and Jennifer Russell (“Jennifer”) (also

collectively referred to as “Plaintiffs”) and, pursuant to FRCP Rule 72, objecting to the Report and

Recommendation (“Report”) of Magistrate Leo I. Brisbois (“Magistrate”) [Doc. 46]:

                                               BACKGROUND

        The Plaintiffs are a mother and her disabled daughter. Bella is a child with a disability entitled to

all of the protections under the Individuals with Disabilities Act (“Act”), 20 U.S.C. 1400, et seq.

including the right to identification, evaluation, programming, placement and an impartial hearing. Over

a period of five years, the Minneapolis Public School district ("District") denied those rights. In an effort

to protect Bella's education rights, Jennifer first repeatedly contacted the District's. When the District

failed to comply with the Act, Jennifer pursued the education alternatives of a private school and another

public school within the state of Minnesota.

        Despite the MDE's confirmation that the District violated Plaintiffs' rights under the Act,

Plaintiffs were twice denied an impartial hearing on the merits.



                                                       1
         The right to an impartial administrative hearing is a basic procedural right under the Act.1

                                              UNCONTESTED FACTS

         In this case, the uncontested facts relevant to the Plaintiffs' Motion for Declaratory Judgment and

the Report and Recommendation are:

1.       The Plaintiffs were at all time relevant herein residents of the Minneapolis Public Schools
         within the meaning of the Minnesota State Special Education Statute (Minn. Stat. §§
         125A. 15; 125A.03);
2.       The Plaintiffs were denied an impartial administrative hearing (Administrative Decisions
         I and II);
3.       The claims raised were raised within the two-year statute of limitations; and
4.       The claims were brought pursuant to the Individuals with Disabilities Education Act.

                                            PROCEDURAL HISTORY

         After five (5) years of contacting the Defendant Minneapolis Public Schools ("District")

and being denied their rights under the Act, Jennifer, filed a complaint in April 2012 with the

Minnesota Department of Education ("MDE").2 Complaint at p. 9, ¶¶ 26-27[Doc.1]. The

complaint asserted that the District refused to identify, evaluate and provide special education

programming for Bella. Id. at p. 4, ¶ 7. The MDE found that the District did violate Bella's

rights3 and ordered specific corrective action including:

         Because the Student has not yet been found eligible and in need of special education and
         related services and is no longer in the District, compensatory education services are not
         ordered. If the Student returns to the District, the District will proceed with child find
         procedures in accordance with this decision.

Id. at p. 5, ¶ 2.(Emphasis added)[Doc. No. 30, Ex. 4].




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    20 U.S.C. 1415(b)(7), 1415(c)(2); 34 C.F.R. 300.508;
2
   There are three statutory mechanisms for dispute resolution under the Act: mediation/conciliation, a complaint
with the state education agency and an administrative hearing. See 34 C.F.R. §§ 300.151-153 and 34 C.F.R. §§
300.500 - 518.
3
   Specifically, the MDE found that Minneapolis Public Schools did not timely evaluate Bella for special education
instruction, thus violating its child-find duties under the Act. See 34 C.F.R. § 300.111; 34 C.F.R. § 300.125(a)(1)(i);
Minn. R. 3525.0750.

                                                          2
        Bella's disabling conditions deteriorated and she was in a hospital and out-patient

program within the boundaries of the Minneapolis Public Schools from March 2012 to the first

week of June 2012. Complaint at p. 10, ¶¶ 30-21[Doc.1]. Once again, the District refused to

initiate an evaluation of Bella or comply with the MDE's corrective action. Id. at p. 10, ¶ 30.

The medical professionals recommended Bella attend a residential treatment program. Id. Bella

began attending St Cloud residential program in June 2012. On the 11th of July 2012 Bella

returned home. Prior to the date of her return home, Jennifer filed her first Complaint and

Request for Administrative Hearing. Id. at p. 10, ¶¶ 30-33.

        Bella's right to an impartial hearing was denied by the administrative law judge ("ALJ")

assigned by the Office of Administrative Hearings ("OAH") and the complaint was dismissed

with prejudice. The ALJ relied upon the language in Thompson v. Board of Special Sch. Dist.

No. 1, 144 F.3d 574 (8th Cir. 1998):

        [i]f a student changes school districts, and does not request a due process hearing, his or
        her right to challenge prior educational services is not preserved. Subsequent challenges
        to the student's previous education become moot because the new school district is
        responsible for providing a due process hearing.

Thompson, 144 F.3d at 579. See Administrative Law Judge Order for Dismissal No. 1, (MDE

File No. 12-038H; OAH File No. 16-1300-22881-9, ("Decision I")[Doc. 30, Ex. 4].

        From the 11th of July 2012 through to the 22nd of August 2013, Jennifer repeatedly

requested the District to identify and evaluate Bella and comply with the MDE's corrective

action . Complaint at p. 11, ¶ 34. The District refused, asserting that Bella was no longer enrolled

in the District. Id.

        After Jennifer notified the District of her intent to file another Complaint, an

individualized education program ("IEP") team meeting was scheduled but not until a week prior

to the beginning of the school year. Complaint at p. 10, ¶ 32. District staff insisted that Bella

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would not receive special education and related services until she was formally evaluated by

District personnel. A district, by statute, may take up to 60 days to complete the initial

evaluation, 4 an additional 30 days to covene an IEP team meeting5, and an additional 60 days to

develop and implement an IEP.6 Thus, Bella again faced months without special education

instruction and the resulting educational harm. The District's on-going violations were

accumulating. A district's failure to have programming in place at the beginning of the school

year is a violation under the Act.7

         On the 21st of August 2012, Plaintiffs filed a second Complaint and Request for

Administrative Hearing. Complaint at. 11, ¶ 34. The second Complaint raised the claims related

to the failure to comply with the MDE corrective action and to timely identify, evaluate and

provide special education programming for Bella.8 Once again, the same ALJ dismissed

Plaintiffs' request on the following basis:

         there can be no showing of a denial of FAPE when a district is not afforded sufficient
         opportunity to formulate or revise an interim IEP. If the District is (sic) "is denied an
         opportunity to formulate a plan to meet [the Student's] needs, it cannot be shown that it
         had an inadequate [IEP] plan under the IDEA. The District must be provided an
         opportunity to modify an IEP to meet the Student's needs for the school year.

See Administrative Law Judge Order for Dismissal No. 2, (MDE File No. 12-038H; OAH File

No. 16-1300-22881-9, ("Decision II")[Doc. 30, Ex. 5]. The ALJ relied upon case law from the

Eighth Circuit that has no authority in statute and violates the Plaintiffs' right to a hearing.

         Plaintiffs timely appealed both decisions. The appeal of Complaint I was assigned the

Civil File No. 12-2398 (MJD/LIB). Complaint II was assigned Civil File No. 12-2997

(MJD/LIB). Plaintiffs moved to amend Complaint I to join MDE as a party and to add the

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    20 U.S.C. § 1414(a)(1)(C); 34 C.F.R. § 300.323.
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    Id.; 34 C.F.R. § 300.323(c)(1).
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    Id.; 34 C.F.R. § 300.301(c)(1).
7
    20 U.S.C. § 1414(d)(2)(A)–(C); 34 C.F.R. § 300.323.
8
    Complaint and Request for Administrative Hearing II

                                                          4
claims associated with the MDE. The motion to amend was denied as untimely as the

Magistrate incorrectly imposed the 90 day appeal deadline on stand-alone claims against the

MDE. The MDE cannot be and was not a party in the administrative hearings.

       The MDE was named as a party in Civil File No. 12-2997 and specific, stand-alione

claims against the MDE were raised in Plaintiffs' Complaint. Those claims were as follows: 1) a

pattern and practice of the MDE violating its obligations under the IDEA by denying eligible

students an impartial hearing through its contracted agents, the OAH; 2) violations under the

equal protection and due process clauses of the Fourteenth Amendment as a result of the federal

statutory deprivations; and 3) Section 1983 claims.

                                   ARGUMENT AND AUTHORITY

       The single legal issue before the Magistrate through the Motion for Declaratory Judgment

was MDE's statutory obligation to ensure Plaintiffs right to an impartial hearing under the Act.

The Plaintiffs properly pled and argued that: 1) the MDE is the responsible agency for ensuring

impartial hearings; 2) the MDE cannot contract its obligation away; 3) the MDE has a pattern

and practice, through its contracted administrative law judges, of denying a class of eligible

students with access to impartial hearings; and 4) those denials are violations under the Act as

well as violations under the procedural due process and equal protection clauses of the

Fourteenth Amendment.

       The Act says that the “establish[ment]” of “procedures” is the responsibility of the

“State” and its agencies. § 1415(a). It adds that an administrative hearing, is to be conducted by

the “State” or “local educational agency.” 20 U.S.C. § 1415(f)(1)(A). And the statute, taken as a

whole, requires state implementation of federal standards. § 1412(a); Cedar Rapids Community

School Dist. v. Garret F., 526 U.S. 66, 68, 119 S.Ct. 992 (1999); Board of Ed. of Hendrick



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Hudson Central School Dist., Westchester Cty. v. Rowley, 458 U.S. 176, 208, 102 S.Ct. 3034

(1982).

          Congress recognized that school districts alone could not guarantee that children with

disabilities would receive an effective education. 20 U.S.C. § 1400(c)(5)(B). By vesting certain

powers and rights in parents, Congress’ goal was to balance the scales in the sometimes

adversarial relationship between parents and school districts.

          The Report completely rejected the Plaintiffs' arguments that the MDE has unequivocal

statutory obligations to provide impartial hearings under the Act.

          In rejecting Plaintiffs arguments, the Magistrate construed all facts in a light most

favourable to the MDE Defendants by blandly reciting some and disregarding others, ignored

claims that were properly pled, and misapplied the law.

I.        THE MDE IS STATUTORILY MANDATED TO PROVIDE ALL ELIGIBLE STUDENTS
          ACCESS TO AN IMPARTIAL HEARING.

          The Magistrate erred when he concluded the Plaintiffs fail "to clearly state which claims

are asserted against which Defendant. . ." Report at 15. The Complaint specifically sets forth the

facts alleged against the MDE and its agents, the OAH. Complaint at 13-15, ¶¶ 40-47. The facts

are directly tied to the Fourteenth Amendment claims against the MDE. Complaint at 18, ¶¶ 69-

73. The arguments in support of these claims are clearly laid out in Plaintiffs' motion for

declaratory judgment. Memorandum in Support of Declaratory Judgment, Section I - III. The

errors begin with the Magistrate's conclusion that the MDE cannot be a party to a civil cause of

action (Report at 15) and that the MDE cannot be sued under Section 1983. Report at 16-17.

The error is perpetuated by the conclusion that Plaintiffs' claims against the MDE Defendants are

limited to the underlying administrative decisions. Report at 15. Finally, the Magistrate erred by

concluding that the deprivation of the right to a hearing under the Thompson case law was not

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raised in the Complaint assigned the Civil File No. 12-2997. Compare Report at 10 and

Complaint at 13-14, ¶¶ 40-47.

         Plaintiffs pled that through its pattern and practice of denying access to an impartial

hearing for similarly situated disabled students, the MDE and its contracted agents, was violating

the Equal Protection and Due Process Clauses of the Fourteenth Amendment.

         The Individuals with Disabilities Act ("Act") is a federal funding, civil rights statute

intended to remedy a history of separation, exploitation and even genocide.9 State eligibility to

receive funding under the Act is premised upon a state's compliance with the Act:

         A State is eligible for assistance under Part B of the Act for a fiscal year if the
         State submits a plan that provides assurances to the Secretary that the State has in effect
         policies and procedures to ensure that the State meets the conditions in §§ 300.101
         through 300.176.

20 U.S.C. § 1412(a); 34 C.F.R. § 300.100.

         The federal statute and regulations unequivocally place the responsibility for ensuring

compliance with the Act upon the state education agency ("SEA"), in this case, the MDE:

         (a) The SEA is responsible for ensuring—
         (1) That the requirements of this part [Part B] are carried out;

20 U.S.C. §1412(a)(110; 34 C.F.R. § 300.149. Inclusive of those affirmative obligations are the

due process procedural safeguards mandated for eligible children under the Act:

         Each SEA must ensure that each public agency establishes, maintains, and implements
         procedural safeguards that meet the requirements of §§ 300.500 through 300.536.

20 U.S.C. 1415(a); 34 C.F.R. § 300.500(emphasis added). Foremost among the enumerated

procedural safeguards is the right to an impartial hearing and all of the attendant due process

protections. 20 U.S.C. 1415(a); 34 C.F.R. § 300.511.




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    Margaret A. Winzer, The History of Special Education: From Isolation to Integration 8 (1993).

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       The United State Supreme Court acknowledged the MDE's responsibility by finding that

the Act “leaves to the States the primary responsibility for developing and executing educational

programs for handicapped children, [but] imposes significant requirements to be followed in the

discharge of that responsibility.” Board of Ed. of Hendrick Hudson Central School Dist.,

Westchester Cty. v. Rowley, 458 U.S. 176, 183, 102 S.Ct. 3034 (1982).

       A.      MDE CANNOT AVOID THE ACT'S SIGNIFICANT REQUIREMENTS                  BY
               CONTRACTING AWAY ITS STATUTORY OBLIGATIONS.

       The novel issue before the Court is whether the MDE is mandated to act to ensure the

right to an impartial hearing under the Act is provided even through its contracted agents.

Plaintiffs seek to redress the deprivation of their right to an impartial hearing based on violations

under the Act reinforced and affirmed by not only by the OAH but also the federal courts. The

MDE incorrectly asserts that this issue can be resolved through judicial review, the highest court

in the circuit continues to endorse the statutory deprivation. The Plaintiffs assert that the MDE

must be compelled to act to correct this deprivation.

       In Blum v. Yaretsky, 102 S.Ct. 2777, 457 U.S. 991 (1982), The United States Supreme

Court examined an issue analogous to the present case when it considered the conduct of private

actors attributable to state officials in the enforcement of state Medicaid laws and regulations.

Id. at. 2785. The Court analyzed whether the constitutional claims invoked were attributable to

the State for the specific conduct of which the plaintiffs complain. Id. Second, the Court

examined whether the State actor "provided such significant encouragement, either overt or

covert, that the choice must in law be deemed to be that of the State." Id. (citations omitted).

The third and final inquiry by the Court was whether the actions of the private actor were

"traditionally the exclusive prerogative of the State." Id. (citation omitted).



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        In the instant case, the MDE is the responsible agency for ensuring access to

administrative hearings. While MDE did not overtly encourage the OAH decisions, its

modification of the Notice of Procedural Safeguards to include the loss of a right to a hearing

under the Act,10 is tacit approval of the deprivation, giving it force and effect. Finally, the

statutory obligation to provide impartial hearings is "exclusive prerogative" of the MDE. Given

the mandatory language of the Act, it cannot be argued that the actions of MDE in conjunction

with its agents, OAH, are discretionary in nature and therefore immune from liability. 11 See

generally United States v. Gaubert, 499 U.S. 315, 111 S.Ct. 1267 (1991); Berkovitz v. United

States, 486 U.S. 531, 108 S.Ct. 1954 (1988).

        B.       EQUAL PROTECTION AND PROCEDURAL DUE PROCESS VIOLATIONS UNDER THE
                 FOURTEENTH AMENDMENT ARE COGNIZABLE CLAIMS AGAINST THE MDE.

        The Magistrate erred by concluding that the MDE could not be sued under Section 1983

and the Fourteenth Amendment. While, a state agency and a state official sued in his or her

official capacity for damages is not a “person” within the meaning of section 1983, Will, 491

U.S. at 71, 109 S.Ct. at 2312 “[a] state agent, however, may be sued in his official capacity if the

plaintiff merely seeks injunctive or prospective relief for a legally cognizable claim.” Nix v.

Norman, 879 F.2d 429, 432 (8th Cir.1989).12

        Plaintiffs raised claims against the MDE for violations of their right to an impartial

administrative hearing as mandated under the Act. The Plaintiffs requested a declaration that the

denial of the hearing violates Plaintiffs' right and a remand back for an impartial hearing on the


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    Complaint at p. 14, ¶ 46.
11
    “The inquiry boils down to whether the government conduct is the subject of any mandatory federal statute,
regulation or policy prescribing a specific course of action.” Baum v. United States, 986 F.2d 716, 720 (4th
Cir.1993).

12
    The Eighth Circuit Court of Appeals in Bradley v. Arkansas Dept. of Educ., 189 F.3d 745, 750 (8th Cir. 1999)
concluded that it was Congress' unequivocal intent to abrogate states' immunity under the IDEA.

                                                        9
merits. Alternatively, if no hearing is provided, the futility exception attaches and the merits of

the Plaintiffs' claims may proceed in district court.

II.    PLAINTIFFS PROPERLY PLED A SYSTEMIC COMPLAINT AGAINST THE MINNESOTA
       DEPARTMENT OF EDUCATION.

       The claims against the MDE as set forth in the Complaint, pleadings and oral argument

were that the MDE is the state education agency responsible for ensuring that all eligible

disabled children are provided with an impartial due process hearing under the Act. Plaintiffs

alleged in the Complaint, pleadings and oral argument that the denial of an impartial hearings is

system-wide within Minnesota, and that the responsibility is statutorily assigned to the MDE.

       The Magistrate correctly concluded that:

       [S]tate education agencies may be responsible for violations of the IDEA when the state
       agency in some way fails to comply with its duty to assure the IDEA's substantive
       requirements are being implemented.

Report at 18 (citing Pachl v. Seagren, 453 F.3d 1064, 1070 (8th Cir. 2006). The right of a

student eligible under the Act to an impartial hearing is a basic procedural right under the Act.

       The agency responsible for ensuring this basic right is provided, as argued by the

Plaintiffs, is the MDE. The MDE may not, by omission or commission, deny that right to

students who are eligible under the Act. Nor may the MDE contract that obligation away by

tacitly permitting flawed administrative decisions that perpetuate the deprivation.

       The Magistrate recast the Plaintiffs' legal claims as appeals of the ALJ's decision rather

than the Plaintiffs' direct challenge to the MDE's pattern and practice of denying eligible students

impartial hearings.




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III.      THE 90 DAY APPEAL TIMELINE IS NOT APPLICABLE TO THE MDE DEFENDANTS.

          The Magistrate incorrectly applied the 90 day appeal deadline for the administrative

decisions to the MDE Defendants. The systemic violations under the Act against the MDE are

entirely separate from the appeal of the administrative decisions. As the Magistrate correctly

pointed out:

          [i]t is well established that State educational agencies are not proper parties to claims
          challenging special education due process decisions' and because '[t]he judicial review
          process is capable of correction any legal mistakes without participation of the State
          Education Department as a party.'

Report at 15. What the Report neglects to mention are the Plaintiffs' claims, in addition to

appealing the administrative decisions, alleging systemic violations against the MDE for denying

of impartial hearings to eligible students under the Act.

VI.       THE MAGISTRATE ERRED BY CONCLUDING THAT A MOTION FOR DECLARATORY
          JUDGMENT WAS NOT A PROPER PROCEDURE FOR RELIEF.

          Under the Federal Declaratory Judgment Act, a district court “may declare the rights and

other legal relations of any interested party seeking such declaration.” 528 U.S.C. § 2201(a)

(2005). The district court, however, is not compelled to exercise that jurisdiction. Wilton v. Seven

Falls Co., 515 U.S. 277, 287, 115 S.Ct. 2137 (1995). In fact, the Supreme Court has repeatedly

characterized the Declaratory Judgment Act as “an enabling Act, which confers a discretion on

the courts rather than an absolute right upon the litigant.” Pub. Serv. Comm'n of Utah v. Wycoff

Co., 344 U.S. 237, 241, 73 S.Ct. 236 (1952); Green v. Mansour, 474 U.S. 64, 72, 106 S.Ct. 423

(1985).

          In this case, the Plaintiffs sought declaratory judgment on the undisputed facts that the

MDE through its contracted agents, OAH, denied Plaintiffs' their statutory right to an impartial

hearing under the Act.

                                                   11
                                           CONCLUSION

       Plaintiffs respectfully request that the Court reverse the Report and Recommendation and

find that the MDE are a proper party to this action, that the claims raised are actionable against

the MDE and declare that the denial of impartial hearings to the Plaintiffs violates their rights

under the Act, and the Equal Protection and Due Process Clauses under the Fourteenth

Amendment.



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